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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 JUSTIN L. BUCKNER,
 JORGE TORRES,
 BRITTANY FOWLER, and
 JULIE K. GREER,                                           No. 08-30071-DRH

 Defendant.

                                AMENDED ORDER

 HERNDON, Chief Judge:

       Before the Court is a Motion to Continue Trial submitted by Defendant

 Fowler (Doc. 33), and a Second Motion For Continuance of Trial submitted by

 Defendant Greer (Doc. 34). Defendants argue that they are currently in negotiations

 with the government regarding a plea agreement. In addition, the Court finds that

 pursuant to 18 U.S.C. § 3161(h)(8)(A), the ends of justice served by the granting of

 such a continue outweigh the interests of the public and Defendants Greer and

 Fowler in a speedy trial because failure to grant a continuance would unreasonably

 interfere with the current plea negotiations, which if successful would serve all

 parties’ interest in a just and efficient outcome. Therefore, the Court GRANTS

 Defendants Fowler and Greer’s motions to continue trial (Docs. 33 & 34) and

 CONTINUES the jury trial as to all Defendants until November 3, 2008 at 9:00am.

 The Court notes that this matter was deferred at a pretrial with the predecessor
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 judge pending his consideration of the pending motions. Upon this judge’s review

 of the record when assigned the case, the outstanding motions were noted as pending

 and so now acted upon. The order is denoted as Amended because it follows-up a

 minute record entered yesterday designed only to put the parties on immediate

 notice of the Court’s intent while this Order was prepared. The time from the date

 Defendants Fowler and Greer’s motions were filed, August 12, 2008 until the date

 on which the trial is rescheduled, November 3, 2008, is excludable time for the

 purposes of a speedy trial.

             IT IS SO ORDERED.

             Signed this 10th day of October, 2008.

                                              /s/     DavidRHer|do|
                                             Chief Judge
                                             United States District Court




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